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            Exhibit B
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


     INTERNATIONAL CONSTRUCTION
     PRODUCTS LLC,

                            Plaintiff,

             v.                                                     Case No. 15-cv-108-RGA-SRF

     CATERP ILLAR INC., et al,

                            Defendants,



      STIPULATION AND [PROPOSED] ORDER TO EXTEND THE CASE SCHEDULE

           WHEREAS, the Parties agree that a 60-day extension is necessary to complete the

    remaining Phase II fact discovery and to resolve pending discovery disputes, and such an extension

    would affect the other existing deadlines and the trial date;

           WHEREAS, the parties previously endeavored to complete depositions by May 10, 2023

    and agreed to meet and confer in good faith about a deposition schedule once Caterpillar has a

    reasonable opportunity to review additional documents produced by ICP;

           WHEREAS, the parties are still conferring in good faith to resolve potential discovery

    disputes regarding certain issues, including Caterpillar' s questions around ICP' s document

    preservation and production efforts and depositions;

           WHEREAS, while the parties and the witnesses do not waive any rights or objections to

    the notices and/or related subpoenas, the parties agree that the remaining Phase 2 discovery

    deadlines should be extended to allow the parties to attempt to resolve fact discovery issues and

    complete fact discovery before proceeding with expert discovery, dispositive motions, and trial;




                                                      1
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            IT IS HEREBY STIPULATED AND AGREED, subject to the Court' s approval, that each

    of the remaining case deadlines be extended by 60 days (adjusted, as needed, for weekends and

    holidays) as follows:

            1.      On or before July 10, 2023, subject to the parties ' respective objections and their

    resolution either through agreement or, if needed, by the Court, the parties shall conduct the

    remaining fact depositions; 1

            2.      On July 10, 2023, ICP shall serve its Rule 26(a)(2) disclosure of expert testimony,

    as it pertains to Phase II.

            3.      On or before August 1, 2023 , Caterpillar shall conduct the deposition of ICP' s

    expert with regard to Phase II.

            4.      On August 29, 2023, Caterpillar shall serve its Rule 26(a)(2) disclosure of expert

    testimony, as it pertains to Phase II.

            5.      On or before September 19, 2023 , ICP shall conduct the deposition of Caterpillar' s

    expert with regard to Phase II.

            6.      On October 10, 2023, the parties shall file any further motions for summary

    judgment.

            7.      On November 13, 2023 , the parties shall file any oppositions to any motions for

    summary judgment filed by another party.

            8.      On December 4, 2023, the parties shall file any replies in further support of any

    motions for summary judgment they filed.



    1
      Specifically, the "remaining fact depositions" refers to Caterpillar noticed depositions of
    International Construction Products LLC ("ICP"), Matt Borum, Leah Joseph, Wes Lee, Eric
    Teague, Jim Teague, Michelle Teague, Jean Willoughby, John Johnson, Joseph Hanneman, John
    Taaffe, Joseph Frank, Tim Frank, and third-party Liquidity Services, Inc. This also includes ICP ' s
    noticed deposition of Caterpillar.


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           9.      On March 22, 2024 (or as soon thereafter as convenient for the Court), the

    Court will hold a Rule 16(e) final pretrial conference in Court with counsel beginning at 9:00 a.m.

    The parties shall file a joint proposed final pretrial order in compliance with Local Rule 16.3(c) no

    later than 5 p.m. on the third business day before the date of the final pretrial conference. Unless

    otherwise ordered by the Court, the parties shall comply with the timeframes set forth in Local

    Rule 16.3(d) for the preparation of the proposed joint final pretrial order.

            10.
                                                   s-1
                   The matter is scheduled for an 'Nl) day jury trial beginning at 9:30 a.m. on April

    5, 2024 (or as soon thereafter as convenient for the Court), with the subsequent trial days

    beginning at 9:00 a.m. Until the case is submitted to the jury for deliberations, the jury will be

    excused each day at 4:30 p.m. The trial will be timed, as counsel will be allocated a total number

    of hours in which to present their respective cases.

            11 .   All other remaining deadlines and terms of the Stipulation and Scheduling Order

    (D.I. 329) shall remain in effect.




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    Dated: May 2, 2023



    OF COUNSEL:
    Heather S. Choi                          Isl David J Baldwin
    Paul C. Cuomo                            David J. Baldwin (No. 1010)
    BAKER BOTTS L.L.P.                       Peter C. McGivney (No . 5779)
    700 K St., N .W.                         BERGER HARRIS, LLP
    Washington, D.C. 20001                   1105 N. Market St., 11th Floor
    (202) 639-7700                           (302) 655-1140
    paul.cuomo@bakerbotts.com                dbaldwin@bergerharris.com
    heather.choi@bakerbotts.com              Wilmington, DE 19801

    Joseph A. Ostoyich
    Clifford Chance LLP
    2001 K Street, NW
    Washington, DC 20006-1001
    Telephone: (202) 253-9077
    joseph.ostoyich@cliffordchance.com       Attorneys for Defendant Caterpillar Inc.



                                             Isl Matthew D. Stachel
    OF COUNSEL:                              Matthew D . Stachel (No. 5419)
    William A. Isaacson                      PAUL, WEISS , RIFKIND,
    Amy J. Mauser                            WHARTON & GARRISON LLP
    David Cole                               500 Delaware Avenue, Suite 200
    PAUL, WEISS, RIFKIND,                    Post Office Box 32
    WHARTON & GARRISON LLP                   Wilmington, DE 19899
    2001 K Street, NW                        (302) 655-4410
    Washington, D .C. 20006-1047             mstachel@paulweiss.com
    (202) 223-7300

                                             Attorneys for the Plaintiff International
                                             Construction Products LLC




                                             SO ORDERED this      1..day   of       , 2023.




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